Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 1 of 27

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

vs. CASE NO. 1:21-cr-00347-001
Sr. Judge Trevor N. McFadden

ROBERT PETROSH

DEFENDANT ROBERT PETROSH’S SENTENCING
MEMORANDUM

It is respectfully requested that the Court take this Sentencing Memorandum on behalf

Robert Petrosh into consideration in imposing a sentence in this matter.
STATEMENT OF FACTS

1. On May 4, 2021, Mr. Petrosh was arrested in Atlantic County, New Jersey for
various charges arising out of the January 6, 2021 disturbance at the United States Capitol. (PSR
at § 1).

2. Mr. Petrosh was released on May 4, 2021 from the Atlantic County Justice Facility.

3. On May 7, 2021, Mr. Petrosh was charged by the United States Attorney for the
District of Columbia with four counts: Count (1) Entering and Remaining in a Restricted
Building, in violation of 18 USC § 1752(a)(1); Count 2) Disorderly and Disruptive Conduct in a
Restricted Building, in violation of 18 USC § 1752(a)(2); Count 3) Violent Entry and Disorderly
Conduct in a Capitol Building, in violation of 40 USC § 5104(e)(2)(D); and Count 4) Parading,
Demonstrating, or Picketing in a Capitol Building, in violation of 40 USC § 5104(e)(2)(G).

4. On December 8, 2021, the United States Attorney for the District of Columbia
filed a five-count Superseding Information charging Mr. Petrosh with Count (1) Entering and
Remaining in a Restricted Building, in violation of 18 USC § 1752(a)(1); Count 2) Disorderly
and Disruptive Conduct in a Restricted Building, in violation of 18 USC § 1752(a)(2); Count 3)

1
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 2 of 27

Violent Entry and Disorderly Conduct in a Capitol Building, in violation of 40 USC §
5104(e)(2)(D); Count 4) Parading, Demonstrating, or Picketing in a Capitol Building, in violation
of 40 USC § 5104(e)(2)(G); and Theft of Government Property, in violation of 18 USC § 641.
5. On January 7, 2022, Mr. Petrosh pled guilty to Theft of Government Property, in
violation of 18 USC § 641,
6. The Presentence Report (PSR) calculates Mr. Petrosh’s total offense level as a

level 4 with a criminal history category of I (PSR at 4 9-10).

MEMORANDUM OF LAW

1. Sentencing Factors Under 18 U.S.C. § 3553(a)

A district court’s discretion is no longer limited by the guidelines since its matrix is now
considered merely advisory. United States v. Booker, 543 U.S. 220, 245-67 (2005). Thus, a court
is now unencumbered in its ability “to consider every convicted person as an individual and
every case as a unique study in the human failings that sometimes mitigate, sometimes magnify,
the crime and the punishment to ensue.” Gall v. United States, 552 U.S. 38, 53 (2007) (quoting
Koon y. United States, 518 U.S. 81 (1996)).

In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies
the factors a court must consider in formulating a sentence. 18 U.S.C. § 3553(a) requires
sentencing courts to consider not only the advisory Guidelines range, but also the facts of a
specific case through the lens of seven factors, including:

(1) the nature and circumstances of the offense and the history and
characteristics of the defendant;

(2) the need for the sentence imposed:

(A) to reflect the seriousness of the offense, to promote respect
for the law, and to provide just punishment for the offense;

(B) to afford adequate deterrence to criminal conduct;

(C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with needed educational or vocational training,
medical care, or other correctional treatment in the most effective

manner;
2
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 3 of 27

(3) the kinds of sentences available;

(4) the kinds of sentence and the sentencing range established;

(5) any pertinent [Sentencing Commission] policy statement,

(6) the need to avoid unwarranted sentence disparities among defendants
with similar records who have been found guilty of similar conduct;
and

(7) the need to provide restitution to any victims of the offense. 18 U.S.C. §

3553(a)(1)-(7).

The following sections analyze the § 3553 factors against the factual backdrop of Mr.
Petrosh’s case.

1. Nature and Circumstances of the Offense

Although the incidents which took place on January 6, 2021 at the U.S. Capitol are
perhaps unparalleled in American History, each Defendant should be sentenced based on their
individual conduct. The court must impose a sentence that is “sufficient, but not greater than
necessary, to comply with the purposes of sentencing.” 18 U.S.C. § 3553(a).

The nature and circumstances of the offense committed by Mr. Petrosh support the
imposition of a fine and/or a period of probation. Mr. Petrosh pled guilty to a non-violent
misdemeanor. He has no prior criminal convictions and this incident was an aberration for him.

On January 6, 2021, Mr. Petrosh drove from Mays Landing, New Jersey to Washington,
D.C. to attend a political rally with a friend.

Mr. Petrosh went to Washington D.C. with the intent to attend a political rally where
President Donald Trump was giving a speech. He went to Washington D.C. with the intent to
express political grievances and assemble as permitted by the Constitution. He did not go to
Washington D.C. with the intent to enter the U.S. Capitol. He did not bring any weapons. He
brought a bag with beef jerky, a sweatshirt, a rain jacket and a water. He did not engage in any
preplanning or coordination prior to his entry into the Capitol.

During President Trump’s speech, Mr. Petrosh observed a crowd of people head toward to

the Capitol but Mr. Petrosh stayed to watch the conclusion of the speech. He did not know that the
3
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 4 of 27

protest would escalate to the extent that it did on January 6, 2021.

At approximately 2:21 p.m. Mr. Petrosh entered the U.S. Capitol via the northwest Senate
Wing door. Mr. Petrosh’s actions inside the Capitol on January 6" are detailed in the Statement of
Facts and PSR. (PSR {ff 23-25).

Mr. Petrosh did not engage in or provoke violence or property destruction. He did not break
through barriers or barricades. He did not fight with law enforcement. In fact, he stopped three or
four individuals from ascending stairs out of the crypt. Mr. Petrosh was thanked by a US Capitol
police officer for stopping the other trespassers from going upstairs.

It is anticipated the Government will argue that Mr. Petrosh “brushed” against a law
enforcement officer in the crypt, but that is not accurate. Mr. Petrosh spoke to a law enforcement
officer in the crypt but did not make any physical contact with any law enforcement officer. As he
explained during his proffer, the crypt was filled with a dense crowd. The momentum of the crowd
picked up and many people were pushed forward. Mr. Petrosh did not engage in any violent
behavior. He was initially in the front of the crowd and did not engage in any violence or physical
contact with any person, including law enforcement. At some point, other members of the crowd

get in front of him leading the crowd into the crypt. He followed through the flow of people.

Mr. Petrosh understands that his entry in the U.S. Capitol exacerbated a terrible situation.
When he met with law enforcement, he made no excuses for his actions. He did not blame
others or law enforcement. He did not minimize his actions or try rationalizing them. During his
arrest interview, he volunteered to the FBI that he made the remark “give us Nancy and we will
go” which he emphasized was stated jokingly, and in jest. He also reported this during his
proffer session. He has had plenty of time to contemplate his actions since being charged in this
matter. As he stands before the court today, he demonstrates acceptance and responsibility for his

actions on January 6, 2021. This is confirmed in the PSR. (PSR {{ 37).
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 5 of 27

Mr. Petrosh self-surrendered and accepted personal responsibility for his actions. He
provided FBI agents with an account of his travel and actions on January 6, 2021. He admitted to
the authenticity of the images and videos of him inside the Capitol. He provided his cell phone to

the FBI and confirmed the authenticity of the messages contained therein.
2. History and Characteristics of Robert Petrosh

Mr. Petrosh is devoted husband and father to three children, ages 6, 9, and 22. He and his
wife are both employed full-time and share responsibilities for their two young children. His
wife confirmed that he is a “good husband and father”. (PSR 953). Mr. Petrosh participates in
all day-to-day caregiving for his two young children. He assists with transportation and

caregiving for the children during times that his wife is working.

Mr. Petrosh is a hardworking business owner. His wife and children are financially
dependent on him, as he is the primary breadwinner and has been since the parties were married.
Mr. Petrosh’s wife expressed fear that if Mr. Petrosh is incarcerated, it will have a negative
impact on the children. (PSR 53). In determining Mr. Petrosh’s sentence, this Court may
consider that he is an excellent father to his three children. See United States v. Pauley, 511 F.3d
468 (4" Cir. 2007)(affirming a 42 month sentence for a defendant with an advisory guideline
range of 78-97 months in part because “besides the criminal conduct at issue, the defendant was .
..a good father”). Furthermore, there is significant literature which supports his wife’s concerns
about the impact that incarceration would have on their two young children. See WAKEFIELD
& WILDEMAN, supra note 108, at 154 (discussing behavior problems associated with parental
incarceration); Lerer, supra note 15, at 154 (listing harms such as depression, developmental
delays, and antisocial behavior); Joseph Murray & David P. Farrington, The Effects of Parental

Imprisonment on Children, 37 CRIME & JUST. 133, 135 (2008) (listing harms such as drug

abuse, mental health problems, and antisocial behavior).

5
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 6 of 27

Mr. Petrosh is a former service member with the United States Marine Corps. He enlisted
in the USMC on June 25, 1987. He completed training and was stationed in the Phillipines from
1988 to 1989. Thereafter, he was assigned to a mid-float deployment and an assignment in Saudi
Arabia and Kuwait, which lasted six months. During his time in the service, he received various
awards and decorations. Some examples include: rifle sharpshooter marksmanship badge,
overseas deployment ribbon, letter of appreciation, meritorious unit citation, sea service
deployment ribbon, national defense service medal and Southwest Asia service medal. Mr.
Petrosh was honorably discharged from the USMC on July 18, 1991 at the rank of Lance

Corporal.

In or around 2003, Mr. Petrosh started a business with his brother with whom he shares a
close relationship. He is a co-owner of the business, which continues to operate to this day. He
is a skilled business owner and works hard to support his family, including his three children.
He does not have any prior criminal convictions and has never been affiliated with individuals or

groups who advocate violence in any way, including against the government.
Mr. Petrosh has a large, supportive family in his community.

It should also be noted that Mr. Petrosh has been in a cooperative posture since his
voluntary surrender. During his proffer sessions with the FBI, he provided trurthful and
valuable information. He provided his cell phone and gave his consent to search. Mr. Petrosh’s

voluntary and robust cooperation should weigh heavily in imposing a sentence.

Furthermore, Mr. Petrosh’s effort to assist the government demonstrates his acceptance of
responsibility for his criminal conduct and his substantial attempt to make amends for his
actions.

3. The Need for the Sentence Imposed

A. To reflect the seriousness of the offense, to promote respect for the

6
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 7 of 27

law, and to provide just punishment for the offense

In imposing “just punishment” for an offense, this Court should consider the need for the
sentence imposed as it pertains to this individual, Mr. Petrosh, not the violent, destructive
protestors who were also present that day.

A period of probation constitutes an appropriate punishment as his liberty interests are
curtailed by travel restrictions, reporting obligations and other limitations on his freedom.
Moreover, in light of the damage done to the Capitol that day, although not directly by Mr.
Petrosh, a modest fine may be appropriate.

Importantly, an important aspect of respect for the law is encouraging cooperation and
truthfulness with law enforcement. Mr. Petrosh has been truthful with law enforcement and
even volunteered the comment he made about Ms. Pelosi to the FBI at the time of his arrest. He
has fully cooperated with law enforcement and admitted to the full scope of his actions.

In addition to waiving his rights and agreeing to be interviewed by law enforcement, he
allowed his mobile phone to be downloaded for substantive analysis. Thereafter, he confirmed
the authenticity of the messages contained on his device.

B. To afford adequate deterrence to criminal conduct
Cc. To protect the public from further crimes by Defendant

A punishment of imprisonment is not necessary to further the § 3553 factor of general or
specific deterrence in this matter. There is no evidence that Mr. Petrosh poses a threat to the
public or that he will engage in similar conduct in the future. Mr. Petrosh is not associated or
involved with any extremist groups who promote violence or engage in any other criminal
conduct.

As previously noted, Mr. Petrosh is a hardworking business owner, father of three (3), and
husband. He has no criminal history which places him in a Criminal History Category I. Asa

first-time offender, Mr. Petrosh poses a lower risk of recidivism. In imposing the least sentence

7
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 8 of 27

sufficient to account for the need to protect the public from further crimes of Mr. Petrosh, this
Court should consider the statistically low risk of recidivism presented. See United States v.
Urbina, slip op., 2009 WL 565485, *3 (E.D. Wis. Mar. 5, 2009) (considering low risk of
recidivism indicated by defendant’s lack of criminal record, positive work history, and strong
family ties); United States v. Cabrera, 567 F. Supp. 2d 271, 279 (D. Mass. 2008) (granting
variance because defendants “with zero criminal history points are less likely to recidivate than all
other offenders’’).
D. to provide the defendant with needed educational or vocational

training, medical care, or other correctional treatment in the

most effective manner;

A significant § 3553(a) sentencing consideration is the need to provide defendants with
correctional treatment in the most effective manner. See § 3553(a)(2)(D). Mr. Petrosh, however,
is not such a defendant. He is a stable individual, without any drug or alcohol issues. He is a
hard-working business owner and serves as the primary breadwinner for his family, including his
three children.

4. The Kinds of Sentences Available

5. The Kinds of Sentences and the Guideline Sentencing Range Established and
any Pertinent Sentencing Commission Policy Statements

6. The Need to Avoid Unwarranted Sentence Disparities Among Defendants with
Similar Records Who Have Been Found Guilty of Similar Conduct

In this case, Mr. Petrosh pled guilty to a non-violent Class A misdemeanor.

Based upon the total offensive level of 4 and the criminal history category of I, the
guideline imprisonment range is zero months to six months. The applicable guideline range is in
Zone A of the sentencing table and thus, a sentence of imprisonment is not required. Chapter 2

does not require such term.

Mr. Petrosh is eligible for probation because the offense is a misdemeanor. 18 U.S.C.
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 9 of 27

§3561(c)(2). Because the offensive level is 4, the guidelines provide that a term of probation shall
be no more than three years. USSG §5B1.2(a)(2).

The fine range for this offense per the guidelines is from $500.00 to $9,500.00. USSG
§5E1.2(c)(3).

It is suggested that a period of probation and imposition of a fine are appropriate in this
case. Mr. Petrosh already agreed to pay restitution pursuant to the terms of the plea agreement.

To the best of the undersigned’s knowledge, there have not yet been any Capitol
defendants sentenced for the misdemeanor offense 18 USC § 641. A table of cases outlining the
government’s recommendations for offenses related to the January 6, 2021 incident as of March 9,
2022 is attached as Exhibit A, Capital 6, 2021 Sentencing Table filed in Case No. 1:21-CR-201-
DLF.

Early into the investigation of the January 6, 2021 incident at the Capitol, the government
made several plea offers that included an agreement to recommend probation. See United States

‘y. Anna Morgan-Lloyd, 1:21-cr-0164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-
97(PFF); United States v. Donna Sue Bissey, 1:21-cr-165(TSC), United Sates v. Douglas
Wangler, 1:21-cr-365(DLF) and United States v. Bruce J. Harrison, 1:21-cr-365(DLF). The
government appears to have abided by its agreement in those cases but did not in this case. C.F.
United States _v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9 Cir. 2015) (no unwarranted
sentencing disparities under § 3553(a) between Defendants who plead guilty under a “fast track”
program and those who do not given the benefits gained by the government when defendants
plead guilty early in criminal proceedings).

Upon review of the government’s recommendations in other cases which took place on
January 6, 2021, the government recommendations did not include a recommendation for

incarceration even involving defendants who committed violent and/or destructive acts and others
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 10 of 27

who did not fully accept responsibility. See United States v. Danielle Doyle, Crim. No 21-00234
(TNM)(government recommended probation with two months home confinement despite noting
she entered through a broken window, yelled at officers, and was not fully transparent in her

interview with law enforcement); United States v. Jessica and Joshua Bustle, 21-00238 (TFH)

 

(government recommended probation with home confinement for Ms. Bustle , who minimized the
conduct of all others involved in the Capitol incident, minimized the impact of her actions and
others, and encouraged others to be proud of their actions).

Sentencing Mr. Petrosh to confinement would not be appropriate in light of the various
recommendations and sentences for other misdemeanor offenses that occurred on January 6, 2021.

Instead, a probationary sentence, along with certain conditions, is an appropriate sentence.

CONCLUSION
For the reasons set forth above, it is respectfully requested that the Court impose a sentence

of probation and/or impose a modest fine against Mr. Petrosh.

By: /s/ Steven P. Scheffler
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10
Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 11 of 27

CERTIFICATE OF SERVICE

I hereby certify that on March 18, 2022, I electronically filed the foregoing with the Clerk

 

 

 

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Steven P. Scheffler, Esq. Marrisa Ruggles, Legal Secretay

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EXHIBIT A

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ToOyUa}sp swM0Y ,SUWOU ¢

(M(E)wOIS § O'S’ OF

ATG-09€00-YO- 17-1

Auemug ‘word

 

 

 

TONNIHSel YOS$ ToNNIYSeL OOS$
SoTAlos A}MUNUIUIOD SOY QZ] SotAles AJLUNUTAIOS soy 09
auy 000'S$ uoneqoid ,s1eak ¢ Maa
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TONNIASAL OOS$
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SOLAIAS ATTUNUMHIOD sINOY 99
woryeqoid sqjuoW pz

 

woyeqoid syyuoul 9¢
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(D)@)rols § O'S’ OF

 

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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 16 of 27

 

WONNYSAL YOS$
woyeqoid ,syJuoOU 9¢

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uoOyUsjep soy ,SuuOU ¢

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OSL-99700-YO-17- 1

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woyeqoid ,syyuoUl 9¢
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won ySer OOS$
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woyeqoid ,syyuoUl 9¢
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OLN ysar OOS$
gotaras ATMOS Soy 09
uoyeqoid ,syyuow 77

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doLaAras A}TUNUMMIOS simoy Q9
uoyeqoid ,syyuoU 9¢
woyUajap otmoy ,sAep OF

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noyeqoid ,syjuoU 77
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uoyeqoid ,sqjuoW 9¢
uwoQUa}Ep swWOT] ,SyWOU ¢

(9)(E)wors § O'S‘ OF

qal-T7E00-HD- 1-1

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WOHNIHSeI OOS$
dolAlas APUMUIUMIOS sINOY 09

auy 00Sz$
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connysel OOS$

sorAras AJLUNUTMOOS SIMoY 09
uoyeqoid ,syjuom 9¢
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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 17 of 27

 

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SoTAlas A]TUNUIMIOD sInoy YOT woyeqoid sujuOW pZ
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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 18 of 27

 

 

 

 

 

 

 

 

 

 

 

 

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UNI}) WOTIAOIOUT ,SYWOUL 9 9um}) UoyeIsoreour syuoM 9 | (9)(Z)(@)¥OIS § ‘O'S’ OF | N£O-17000-AO-1Z:1 | Tee49HW “olzmD
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auly 000T$ uoyeqord ,syyuout 9¢
woyeqosd syyuOU gT uorusjap suoy syuour ¢ | (D)(Z)(2)VOIS § O'S‘ OF | LAV-88S00-AO-12:1 | At ‘Heqnyos
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SdTAlas ATLUNUIMOS SIM0Y OO
SuLopuoU Sd) Shep 06
woyeqoid ,syjuoul 9¢
wONUS}Sp sMOY ,SUJUOU ¢

wonniysel QOS$

SolAlas AjTUNMIMIOS SMOY OO
uoyeqoid suo 9¢
woQUs}ap saMOY ,syJWOUL ¢

(OMOE)pOIs § O'S‘ OF

HV@-1L900-8O-17-T

sourer ‘STT[O]

 

OMNIYSAL QOSS

SO smoy 09
woryeqoid ,sqjuoul 77

aOHNIHSAL OOS$

SOLAIas ATTUNUIWIOS soy 09
uoyegoid sqjwoUl 9¢
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(9)(Z)@)pots § ‘O'S’ OF

ATG-91500-HO-TC-1

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TonNysel OOS$
SOLAlos AJTUNUAUOD SIMO —9
woyeqoid ,syjuoW 7]

donNHsSel OSS

QOTAIAS AJTUNUIUIOS soy 09
woyeqgoid syjuom 9¢
UOQUa}Ep sMOY ,SyWOW 7

(D@)zsL1 § O'S'N BI

Oa-S€700-AD 17-1

ABYIJOL “TOYO

 

 

wonNyysel QOS$

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uoyeqoid ,syyuou Z]
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doNN HSA OOS$

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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 19 of 27

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wOHUS}sp suIoY syywoM ¢

donNiysel OOS$
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(O)E)wors § O's’. OF

HV4-16£00-8O- 17-1

preuoe’y
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UOHNIHSEL YNOS$
woyegoid ,syywoUl 9¢
woyUsjap sM0y ,syJuOM ¢

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sug 000'ss woNNysal OOS$
woyeqord .s1e0k ¢ woyersoreout skep og | (D)(Z)(@)POTS § ‘O'S’ OF | MAA-SS£00-AO-17-1 U0'y “UOSUIA,

 

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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 20 of 27

 

 

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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 21 of 27

 

TONNIySeL NOS$
SOLAIes AyFUNUMMAOS sINOY 09

 

 

 

 

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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 22 of 27

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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 23 of 27

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SOLAIOS AJTUNUIUIOS SOY OO WOUNMYSSI NOS$
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uonelsoleoul ,syyuoUr ¢9

WOHN Sal NOOTS$
QSva[OI pastArodns ,syuoW 9¢
UOYRIOOIVOUI ,SyJUOU ¢9g

(q) pure (2)IIT § O'S N81

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Woqoy ‘sued

 

 

doNN sal NOS$

aotsres AjTUNUTMAIOS soy 99
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WONNIHSAl OOS$

SdLAlas AYTUNUTMIOD SIMO 09
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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 24 of 27

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wONUsep SuOY ,SYJWOU! 7 uonersoreout skep pT | (O)(Z)(@)P0IS § ‘O'S'N0h | DU-96000-AO-1Z:1 ‘oyedays

 

WoNNsSal YOS$

dolAlas AyTOMUIAOD SMoY OO
uoyeqoid ,sqjuou 9¢
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qooer YOUporn,

 

uonnnsal OOS$
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auy OOST$ SOLArOs AJTUMUMUIOS soy Q9

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uoyegoid ,syjuou 9¢
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(O\E)rols § O's‘ OF

O4-88£00-HO-1 7:1

OLA ‘Suen

 

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sug OOOTS
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woreIsoreoul ,SABp OF

(D@)zsL1 § O's'n 81

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WORN “WOATY,

 

 

suy 0007s
woyegoid ,sqyuow 77
WoyUs}ap sMOY ,syIWOW 7

 

woNN sal NOS$
WOYPISOIBOU .SABP Sp

 

(O)DE)POTS § ‘O'S'N OF

 

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TONNINSAI OOS$

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woyeqoid sqjow pz
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woyeqoid ,syyuout pz
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woyegoid ,syywoul 9¢
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HOYeIDOIEOU SUMO pp

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QS8ea]ol pastalodns .syJuoWM 9¢
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(q)
pue(e) 111 § OS 81

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Se[OUSIN,
‘puriondue’y]

 

woRN sar OOS$
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uoyeqoid ,syjuoUl 9¢

wONNsaL OOS$
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(uoyeqoid Jo uoyIpu0s) woyeqoid ,sqyuow 9¢
WOYSIIOIBOU! JUsyTULUyUT ,SABP CT uorelsoreout shep O¢ | (D)(Z)(@)pOIS § O'S OF | N&O-Z8000-MO-1Z:1 | AOTL, ‘surenyt
wOyNIySaI YNOS$

SoLAras AJTUMUMUIOD Ssmmoy 09
uoyegoid ,syyuoul 9¢

doNN sal NOS$
SoIAlas A}TUNUIMIOD soy 09

 

 

 

 

 

 

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uoyeqoid ,sqyoW pz

 

 

 

 

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uoyeqoid ,sqyou 9¢
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‘s]USUT [ISU ABP-O] UI Paatas aq 0} asvalor pastaladns s yyuoU 7]
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aul 000S$ uly 000S$
asea[al pastarodns syyuoW 7] aseo[o1 postaiodns s WyuOW Z]
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WON Ser OOS$ WONNIYSal YOS$
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uoneqoid ,sqjuow 9¢ wOTNIYsSal OOS$

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SoLAles A}IMUMMIOD soy 09

 

aseajai pasialodns syjuom 7] yWoaqoy
Z) WoNeIsoIROMI JuoTULIOJUT ,SAEP BZ ToOneISoWoUl ,SyUOU 9-p (D@)ZSLI§ O'S' BI | HWA-8L700-8O-1Z:1 “yeuroyos
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WONIPUOd B SB UONRISOIBOUT .SABP pT uoyersoreour Shep pT | (O)(Z)(@)p0Is § ‘O'S OF | HVE-9S700-MO-1Z:1 Welig ‘Z09}6

 

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Case 1:21-cr-00347-TNM Document 39 Filed 03/18/22 Page 27 of 27

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GonNyHser OOS$
uoyeqoid ,syyuoU pZ

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